              Case 2:22-cv-00389-DCN Document 24 Filed 02/02/23 Page 1 of 6




                                 UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO


     CODY J. SCHUELER, an individual,
                                                            Case No. 2:22-cv-00389-DCN
                            Plaintiff,
                                                            SCHEDULING ORDER
                  v.
                                                            (STANDARD TRACK)
     FOUR SQUAREBIZ, LLC, a Wyoming
     limited liability company; KEITH O.
     CREWS, an individual and the associated
     marital community; MICAH EIGLER, an
     individual and the associated marital
     community; and JOHN AND JANE
     DOES 1-10,

                            Defendants.

         NOW THEREFORE, IT IS SO ORDERED that the following deadlines and

procedures will govern this litigation:

1.       Dispositive Motion Deadline: All dispositive motions shall be filed by August 14,

         20231 This deadline, absent good cause, will not be extended even if you are having

         discovery disputes. Late filed discovery disputes may not be considered good cause.

         a.       This is the critical event for case management and will dictate when the trial

                  will be set.


1
  It is this Court’s policy to accept only one (1) motion to dismiss and one summary judgment motion per
party. If it appears, due to the complexity or numerosity of issues presented, that counsel is unable to address
all issues within the 20-page limit for briefs, Dist. Idaho Loc. R. 7.1(b)(1), then it is appropriate to file a
motion for permission to file an over-length brief, rather than filing separate motions for each issue. The
Court prefers reviewing one over-length brief in support, one over-length brief in response, and one 10-
page reply brief, if any, rather than the panoply of briefs that are generated when multiple motions are filed.


SCHEDULING ORDER - 1
          Case 2:22-cv-00389-DCN Document 24 Filed 02/02/23 Page 2 of 6




        b.       As provided below, a trial setting conference will be scheduled immediately

                 following resolution of all dispositive motions. To facilitate a prompt trial

                 setting, I will make every effort to schedule oral argument within 60 days

                 and issue a decision within 30 days after the oral argument. If a decision is

                 not issued within this time frame, I invite inquiry from counsel as to the status

                 of the decision.

2.      Amendment of Pleadings and Joinder of Parties: All motions to amend pleadings

        and join parties, except for allegations of punitive damages, shall be filed on or

        before March 3, 2023. This deadline shall only be extended for good cause shown.2

        All parties are entitled to know the claims and parties well-before trial rather than

        be forced to pursue or defend against a moving target. Although this deadline

        precedes the general discovery deadline, the parties are directed to send out all

        discovery requests that might relate to amendment or joinder enough in advance of

        this amendment and joinder deadline to obtain the responses needed to make an

        informed decision on amendment and joinder.

3.      Alternative Dispute Resolution Plan: The parties have chosen to participate in

        mediation. ADR must be held by August 14, 2023. Should the parties need

        assistance with selection of a mediator, they are directed to contact the ADR

        Administrator, at adr@id.uscourts.gov. The parties must contact the Court to



2
  The Ninth Circuit has held that motions to amend filed after the Scheduling Order deadline are governed,
not by the liberal provisions of Fed. R. Civ. P. 15(a), but instead, by the more restrictive provisions of Fed.
R. Civ. P. 16(b) requiring a showing of “good cause.” Johnson v. Mammoth Recreations, Inc., 975 F.2d
604 (9th Cir. 1992).


SCHEDULING ORDER - 2
          Case 2:22-cv-00389-DCN Document 24 Filed 02/02/23 Page 3 of 6




     provide notice of whether mediation was successful. Please ensure that all emails

     directed to adr@id.uscourts.gov contain the case number and title in the email

     subject line.

4.   Discovery Plan: All discovery shall be in accordance with the Federal Rules of Civil

     Procedure, the Local Rules, and the parties’ stipulated discovery plan which is

     incorporated herein by reference.

5.   Clawback: Pursuant to Fed. R. Evid. 502(d), it is hereby ORDERED that

     production of a privileged or work-product-protected document, whether

     inadvertent or otherwise, is not a waiver of privilege or work-product protection in

     this case or in any other federal or state proceeding.

6.   Completion of Discovery: All factual discovery will be completed by July 16, 2023.

     These deadlines are for the completion of all discovery; it is not a deadline for

     discovery requests. Discovery requests must be made far enough in advance of this

     deadline to allow completion of the discovery by the deadline date. The parties may,

     by stipulation, agree to defer some trial-related discovery, such as discovery related

     to damage issues, until after I have ruled on any dispositive issues.

7.   Disclosure of Experts:

     a.       The Plaintiff shall disclose the experts intended to be called at trial on or

              before May 17, 2023.

     b.       The Defendant shall disclose the experts intended to be called at trial on or

              before June 17, 2023.

     c.       All rebuttal experts shall be identified on or before June 30, 2023.


SCHEDULING ORDER - 3
        Case 2:22-cv-00389-DCN Document 24 Filed 02/02/23 Page 4 of 6




      d.     All expert discovery will be completed by July 16, 2023.

8.    Rules Governing Disclosures of Expert Witnesses: Within the deadlines for

      disclosure of expert witnesses set out in the scheduling order, the parties shall also

      provide – for each expert disclosed – the report described in Fed. R. Civ. P.

      26(a)(2)(B), as modified by Local Rule 26.2(b). Supplementation to the expert

      witness report shall be done in accordance with Fed. R. Civ. P. 26(e)(1). Pursuant

      to Local Rule 26.2(b), expert witnesses will not be allowed to offer any opinion not

      disclosed in the mandatory Rule 26 disclosures, supplementation, or deposition.

      This includes rebuttal experts. No undisclosed expert rebuttal opinion testimony will

      be allowed at trial.

9.    Scheduling of Trial and Pretrial Conference: Plaintiff's counsel shall contact my

      Courtroom Deputy, Patti Richmond, within one week following the entry of a

      decision on all pending dispositive motions to make arrangements for a telephone

      scheduling conference between counsel and me in which the trial and pretrial

      conference shall be set. If no dispositive motion is filed, Plaintiff's counsel shall

      immediately contact Ms. Richmond within one week of the dispositive motion filing

      deadline to set a telephone scheduling conference.

10.   Law Clerk: If counsel has a procedural or legal question that needs to be brought to

      my attention, please contact Tanner Wadsworth, the law clerk assigned to this case

      at (208) 478-8394. If this case is later reassigned or referred to another judge, consult




SCHEDULING ORDER - 4
               Case 2:22-cv-00389-DCN Document 24 Filed 02/02/23 Page 5 of 6




          the Judges’ webpage3 for the judges’ staff directory.

11.       Handling of Discovery Disputes and Non-disposition Motion:

          a.       Typically, I will not refer this case to a magistrate judge for resolution of

                   discovery disputes and non-dispositive motions. I will keep these motions on

                   my own docket.

          b.       The parties will strictly comply with the meet and confer requirements of

                   Local Rule 37.1 prior to filing any discovery motions.

          c.       In addition, I will not entertain any written discovery motions until the Court

                   has been provided with an opportunity to informally mediate the parties’

                   dispute. To facilitate that mediation, the attorneys will first contact Tanner

                   Wadsworth, the law clerk assigned to this case, and shall provide him with a

                   brief written summary of the dispute and the parties’ respective positions.

                   Mr. Wadsworth may be able to offer suggestions that will resolve the dispute

                   without the need of my involvement. If necessary, an off-the-record

                   telephonic conference with me will then be scheduled as soon as possible. I

                   will seek to resolve the dispute during that conference and may enter

                   appropriate orders on the basis of the conference. I will only authorize the

                   filing of a discovery motion and written briefing if we are unable to resolve

                   the dispute during the conference.

          d.       Prior to filing any discovery motions, counsel must certify, not only that they



3
    http://id.uscourts.gov/district/judges/Welcome.cfm


SCHEDULING ORDER - 5
       Case 2:22-cv-00389-DCN Document 24 Filed 02/02/23 Page 6 of 6




            have complied with Local Rule 37.1, but that they have complied with the

            foregoing procedures.

12.   Calendaring Clerk: Scheduling matters and calendar issues may be directed to Patti

      Richmond, who may be reached at (208) 478-8392.

13.   Docketing Clerk: If you have a docketing question, please contact a docket clerk at

      (208) 334-1361.


                                               DATED: February 2, 2023


                                               _________________________
                                               David C. Nye
                                               Chief U.S. District Court Judge




SCHEDULING ORDER - 6
